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rel. [UNDER SEAL],

Plaintiffs,
V.
[UNDER SEAL],
Defendants.

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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

No. CV 19-01226-JGB (KKx)

PROPOSED] ORDER RE ELECTION
Y THE ED STATES TO
DECLINE INTERVENTION AND
REQUEST UNSEALING OF CASE

LODGED UNDER SEAL PURSUANT
O THE FALSE CLAIMS ACT, 31
U.S.C. §§ 3730(b)(2) AND (3)]

FILED CONCURRENTLY UNDER

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UNITED STATES TO DECLINE
INTERVENTION AND REQUEST
UNSEALING OF CASE]

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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION
UNITED STATES OF AMERICA ex No. CV 19-01226-JGB (KKx)
rel. JAMES HILTON JR.,
ROPOSED] ORDER RE ELECTION
Plaintiffs, Y THE ED STATES TO
DECLINE INTERVENTION AND
Vv. REQUEST UNSEALING OF CASE

JOSEPH TODD LONSDALE V., et ai.,
LODGED UNDER SEAL PURSUANT
Defendants. O THE FALSE CLAIMS ACT, 31
U.S.C. §§ 3730(b)(2) AND (3)|

FILED CONCURRENTLY UNDER

EAL: NOTICE OF ELECTION BY THE
UNITED STATES TO DECLINE
INTERVENTION AND REQUEST
UNSEALING OF CASE]

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The United States of America (“United States”) having declined to intervene in
the above-captioned action (“this action”) pursuant to 31 U.S.C. § 3730(b)(4)(B), and the
United States having requested to the unsealing of the case with certain exceptions, the
Court now orders as follows:

IT IS ORDERED that:

1. The seal is lifted from this action in all respects;

2. The Complaint, this Order and the Notice of Election by the United States
to Decline Intervention and Request Unsealing of Case are all unsealed;

3. The seal is lifted as to all papers and records filed or lodged in this action
after the date of this Order;

4. The parties shall serve all pleadings, notices, motions, orders, and other
papers hereafter filed or lodged in this action, including supporting memoranda and any

notice of appeal, upon the United States as provided for in 31 U.S.C. § 3730(c)(3).

IT IS SO ORDERED.

Dated: Déoudlyn, W, a

CHONORAB E JESUS G. BERNAL
NITED STAVES DISTRICT JUDGE

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PROOF OF SERVICE BY U.S. MAIL

I am over the age of 18 and not a party to the above-captioned action. I am

employed by the Office of United States Attorney, Central District of California. My
business address is 300 North Los Angeles Street, Suite 7516, Los Angeles, California
90012.

On December 13, 2019, I served the [PROPOSED].ORDER RE ELECTION BY
THE UNITED STATES TO DECLINE INTERVENTION AND REQUEST
UNSEALING OF CASE on each person or entity named below by U.S. mail.

Person(s) and/or Entity(s) to whom mailed:

James Hilton Jr.
27163 Via Debra
Menifee, CA 92586
I declare that I am employed in the office of a member of the bar of this Court at
whose direction the service was made.
I declare under penalty of perjury that the foregoing is true and correct.

Executed on December 13, 2019, at Los Angeles, California.

N CACERES RENDEROS

